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2
        Coleman W. Watson, Esq.
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        Orlando, FL 32801
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5                                UNITED STATES DISTRICT COURT

6
                                  MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION
7
                                                    §
8       UNITED STATES OF AMERICA, EX                §
        REL., BARBARA BERNIER,                      §
9                                                   §     Case No.: 6:16-cv-00970-RBD-TBS
                    Plaintiff,                      §
10                                                  §
              vs.                                   §         NOTICE OF MEDIATION
11
                                                    §
        INFILAW CORPORATION;                        §
12
        CHARLOTTE SCHOOL OF LAW, LLC,               §
13                                                  §
                    Defendants.                     §
14                                                  §
                                                    §
15                                                  §

16             Relator, BARBARA BERNIER, and Defendants, INFILAW CORPORATION
17
        and CHARLOTTE SCHOOL OF LAW, LLC, pursuant to the case management and
18
        scheduling order, Doc. 43 at 11, hereby give notice that mediation has been scheduled in
19
        this action for April 3, 2019, before mediator JAY COHEN.
20

21
        DATED on November 6, 2017
22

23
                                                   Respectfully submitted,
24
                                                   /s/ Coleman Watson
25                                                 Coleman W. Watson, Esq.



         NOTICE OF MEDIATION- 1                                               WATSON LLP
         Case No.: 6:16-cv-00970-RBD-TBS                                 189 S. Orange Avenue, Suite 810
                                                                                Orlando, FL 32801
                                                                    Tel: (407) 377-6634 / Fax: (407) 377-6688
     Case 6:16-cv-00970-RBD-TBS Document 47 Filed 11/06/17 Page 2 of 3 PageID 379



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13
                                          Attorneys for Relator,
14
                                          BARBARA BERNIER
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        NOTICE OF MEDIATION- 2                                     WATSON LLP
        Case No.: 6:16-cv-00970-RBD-TBS                       189 S. Orange Avenue, Suite 810
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                                                         Tel: (407) 377-6634 / Fax: (407) 377-6688
     Case 6:16-cv-00970-RBD-TBS Document 47 Filed 11/06/17 Page 3 of 3 PageID 380



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2
                                    CERTIFICATE OF SERVICE

3               I HEREBY CERTIFY that on November 6, 2017, pursuant to Fed. R. Civ. P. 5, I
        electronically filed the foregoing with the Clerk of Court by using the CM/ECF system,
4       which will send an electronic notice to the following lead counsel of record in this
        proceeding:
5
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17                                                 /s/ Coleman Watson
                                                   Coleman W. Watson, Esq.
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         NOTICE OF MEDIATION- 3                                             WATSON LLP
         Case No.: 6:16-cv-00970-RBD-TBS                               189 S. Orange Avenue, Suite 810
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